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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 21-cr-52-2 (TJK)
               v.                              :
                                               :
WILLIAM PEPE,                                  :
                                               :
                                               :
                       Defendant.              :

                                    JOINT STATUS UPDATE

       The United States of America, by and through its attorney the Acting United States

Attorney for the District of Columbia, and defendant William Pepe, by and through his attorney

John Pierce, Esq., hereby provide this joint status update to the Court.

       At a status conference on March 26, 2021, this Court granted the government’s motion to

exclude time pursuant to the Speedy Trial Act, and it set the matter for further status on May 25,

2021. It also directed the parties to file joint status updates on or before April 26, 2021. The parties

accordingly file the below status update.

       At the March 26 hearing, John Pierce, Esq., appeared on the defendant’s behalf via video-

link. The day before, Mr. Pierce moved to appear pro hac vice, which was granted by this Court.

Mr. Pierce then formally entered his notice of appearance on March 26, 2021.

         The government and Mr. Pierce are in the process of formalizing whether Mr. Pepe joins

in the Protective Order that was entered on February 15, 2021 (ECF No. 17) or whether we will

need to file a separate protective order for all defendants. We expect that issue to be resolved

promptly.

       The government expects to provide discovery to Mr. Pierce and his associates shortly after
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that protective order issue is resolved. Further, the government will provide additional discovery

now that the Court has signed the government’s motion to disclose material protected by Federal

Rule of Criminal Procedure 6(e) and/or currently under seal, ECF No. 39. Finally, on April 23,

2021, the government provided counsel with a viewing letter that will allow them to take a tour of

the U.S. Capitol if they so choose, along with a copy of the superseding indictment.

       Mr. Pierce would also like to inform the Court that his client continues to “[reserve] his

right to challenge any and all counts in the indictment due to defects in the indictment, insufficient

evidence, and/or dismissal for any other legal impediments in the interest of justice.” Further, Mr.

Pierce and his associates intend on filing a motion to “transfer” the case from the District of

Columbia to the Southern District of New York, where Mr. Pepe resides.

       Undersigned counsel has provided a copy of this joint status to Mr. Pierce and his

associates, and he has informed undersigned counsel that it may be filed as a joint status update.



                                               Respectfully submitted,

                                               CHANNING PHILLIPS
                                               Acting United States Attorney
                                               D.C. Bar No. 415793


                                       By:     /s/ Christopher A. Berridge
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